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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
ENERGY FUTURE HOLDINGS CORP., et al., Case No. 14-10979 (CSS)
Debtors. (Jointly Administered)
Related to Docket Nos. 745
)
AFFIDAVIT OF SERVICE

I, R. Stephen McNeill, hereby certify that on this 344 day of June 2014, I caused a true and
correct copy of the Joinder of EFTA First Lien DIP Agent to the EFIH Debtors’ Omnibus
Reply to Objections to the EFIH Debtors’ Motion for Approval of the EFIH First Lien DIP
Financing, the EFIH First Lien Repayment, and the Fidelity Funding Fee to be served upon

the individual listed below as indicated:

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